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 8
 9                          UNITED STATES DISTRICT COURT
10                        CENTRAL DISTRICT OF CALIFORNIA
11
      Dr. Elliot McGucken, an individual,       Case No.:
12
                                                    PLAINTIFF’S COMPLAINT FOR:
13    Plaintiff,
                                                     1. COPYRIGHT INFRINGEMENT
14
      v.                                             2. VICARIOUS AND/OR
15                                                      CONTRIBUTORY COPYRIGHT
      Pepperdine University, a California               INFRINGEMENT
16
      nonprofit corporation; and Does 1-10,          3. VIOLATIONS OF THE
17    inclusive,                                        DIGITAL MILLENNIUM
                                                        COPYRIGHT ACT
18                                                      (17 U.S.C. §1202)
19    Defendants.                                   Jury Trial Demanded
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 1           Plaintiff, Dr. Elliot McGucken (“McGucken”), by and through his undersigned
 2 attorneys, hereby prays to this honorable Court for relief based on the following:
 3                              JURISDICTION AND VENUE
 4           1.   This action arises under the Copyright Act of 1976, Title 17 U.S.C., § 101
 5 et seq.
 6           2.   This Court has federal question jurisdiction under 28 U.S.C. § 1331 and
 7 1338 (a)-(b).
 8           3.   Venue in this judicial district is proper under 28 U.S.C. § 1391(c) and
 9 1400(a) in that this is the judicial district in which a substantial part of the acts and
10 omissions giving rise to the claims occurred.
11                                         PARTIES
12           4.   Plaintiff McGucken is an individual residing in Los Angeles, California.
13           5.   McGucken is informed and believes and thereon alleges that Defendant
14 Pepperdine University (“Pepperdine”) is a California corporation doing business in
15 and with the Los Angeles County, including through its principal place of business at
16 24255 Pacific Coast Highway, Malibu, California 90263.
17           6.   On information and belief, McGucken alleges that Defendants DOES 1
18 through 10 (collectively, “DOE Defendants”) (altogether with Pepperdine,
19 “Defendants”) are other parties not yet identified who have infringed McGucken’s
20 copyrights, have contributed to the infringement of McGucken’s copyrights, or have
21 engaged in one or more of the wrongful practices alleged herein. The true names,
22 whether corporate, individual or otherwise, of DOE Defendants are presently
23 unknown to McGucken, who therefore sues said DOE Defendants by such fictitious
24 names, and will seek leave to amend this Complaint to show their true names and
25 capacities when same have been ascertained.
26           7.   On information and belief, McGucken alleges that at all times relevant
27 hereto each of the Defendants was the agent, affiliate, officer, director, manager,
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 1 principal, alter-ego, and/or employee of the remaining Defendants and was at all
 2 times acting within the scope of such agency, affiliation, alter-ego relationship and/or
 3 employment; and actively participated in or subsequently ratified and adopted, or
 4 both, each and all of the acts or conduct alleged, with full knowledge of all the facts
 5 and circumstances, including, but not limited to, full knowledge of each and every
 6 violation of McGucken’s rights and the damages to McGucken proximately caused
 7 thereby.
 8                CLAIMS RELATED TO MCGUCKEN’S PHOTOGRAPH
 9         8.     McGucken is an acclaimed photographer who created and owns the
10 original photograph depicted in Exhibit A attached hereto (“Subject Photograph”).
11         9.     McGucken is the sole and exclusive owner of all rights, title, interests,
12 and privileges in and to the Subject Photograph.
13          10.   Prior to the acts complained of herein, McGucken published and widely
14 publicly displayed and disseminated the Subject Photograph including without
15 limitation on McGucken’s website www.mcgucken.com.
16          11.   Following McGucken dissemination and display of the Subject
17 Photograph, Defendants, and each of them copied, reproduced, displayed, distributed,
18 created derivative works, and/or otherwise used the Subject Photograph without
19 license, authorization, or consent, including by using the Subject Photograph as the
20 cover for the publication “The Orange Book: 2021 Academic Planning Guide”
21 (“Infringing Use”) which was created, published, and distributed by the Pepperdine
22 Caruso School of Law, a division of Pepperdine. The Infringing Use was made
23 widely and publicly available at community.pepperdine.edu, which is owned and
24 operated by Pepperdine, and is actively distributed and made available by Pepperdine
25 to current and potential students. True and correct screen captures of the Infringing
26 Use, and its accompanying URL, are included in Exhibit B attached hereto.
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                                             COMPLAINT
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 1          12.   On information and belief it is alleged that Pepperdine made an
 2 unauthorized copy of the Subject Photograph and then cropped and edited that work
 3 before adding its own name to the work and publishing same under its own name.
 4          13.   McGucken has not in any way authorized Defendants, or any of them, to
 5 copy, reproduce, display, distribute, create derivative works of, or otherwise use the
 6 Subject Photograph.
 7          14.   On February 15, 2022, McGucken, through his undersigned attorneys,
 8 served Defendans a letter demanding that Defendants cease and desist all infringing
 9 uses of McGucken’s copyrighted work and reasonable resolve the action. In
10 responding to the letter, Defendants’ settlement position was $500.00, which does not
11 reasonably reflect damages for the willful infringement at issue. Given this position
12 McGucken was forced to file this action.
13                              FIRST CLAIM FOR RELIEF
14           (For Copyright Infringement – Against all Defendants, and Each)
15          15.   McGucken repeats, re-alleges, and incorporates herein by reference as
16 though fully set forth, the allegations contained in the preceding paragraphs of this
17 Complaint.
18          16.   On information and belief, McGucken alleges that Defendants, and each
19 of them, had access to the Subject Photograph, including, without limitation, through
20 (a) viewing the Subject Photograph on McGucken’s website, (b) viewing Subject
21 Photograph online, and (c) viewing Subject Photograph through a third party. Access
22 is further evidenced by the Subject Photograph’s exact reproduction in the Infringing
23 Use.
24          17.   On information and belief, McGucken alleges that Defendants, and each
25 of them, copied, reproduced, displayed, and distributed the Subject Photograph,
26 including without limitation as seen in Exhibit B attached hereto.
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 1          18.   On information and belief, McGucken alleges that Defendants, and each
 2 of them, infringed McGucken’s copyrights by creating infringing derivative works
 3 from the Subject Photograph and publishing same to the public.
 4          19.   Due to Defendants’, and each of their, acts of infringement, McGucken
 5 has suffered general and special damages in an amount to be established at trial.
 6          20.   Due to Defendants’, and each of their, acts of copyright infringement as
 7 alleged herein, Defendants, and each of them, have obtained direct and indirect
 8 profits they would not otherwise have realized but for their infringement of
 9 McGucken’s rights in the Subject Photograph. As such, McGucken is entitled to
10 disgorgement of Defendants’ profits directly and indirectly attributable to
11 Defendants’ infringement of McGucken’s rights in the Subject Photograph in an
12 amount to be established at trial.
13          21.   On information and belief, McGucken alleges that Defendants, and each
14 of them, have committed acts of copyright infringement, as alleged above, which
15 were willful, intentional and malicious, which further subjects Defendants, and each
16 of them, to liability for statutory damages under Section 504(c)(2) of the Copyright
17 Act in the sum of up to $150,000.00 per infringement and/or a preclusion from
18 asserting certain equitable and other defenses.
19                             SECOND CLAIM FOR RELIEF
20       (For Vicarious and/or Contributory Copyright Infringement – Against all
21                                  Defendants, and Each)
22          22.   McGucken repeats, re-alleges, and incorporates herein by reference as
23 though fully set forth, the allegations contained in the preceding paragraphs of this
24 Complaint.
25          23.   On information and belief, McGucken alleges that Defendants knowingly
26 induced, participated in, aided and abetted in and profited from the illegal
27 reproduction and distribution of the Subject Photograph as alleged hereinabove. Such
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 1 conduct included, without limitation, publishing photographs obtained from third
 2 parties that Defendants knew, or should have known, were not authorized to be
 3 published by Defendants.
 4          24.   On information and belief, McGucken alleges that Defendants, and each
 5 of them, are vicariously liable for the infringement alleged herein because they had
 6 the right and ability to supervise the infringing conduct and because they had a direct
 7 financial interest in the infringing conduct. Specifically, Defendants, and each of
 8 them, profited in connection with the Infringing Use, and were able to supervise the
 9 distribution, broadcast, and publication of the Infringing Use.
10          25.   By reason of the Defendants’, and each of their, acts of contributory and
11 vicarious infringement as alleged above, McGucken has suffered general and special
12 damages in an amount to be established at trial.
13          26.   Due to Defendants’ acts of copyright infringement as alleged herein,
14 Defendants, and each of them, have obtained direct and indirect profits they would
15 not otherwise have realized but for their infringement of McGucken’s rights in the
16 Subject Photograph. As such, McGucken is entitled to disgorgement of Defendants’
17 profits directly and indirectly attributable to Defendants’ infringement of
18 McGucken’s rights in the Subject Photograph, in an amount to be established at trial.
19          27.   On information and belief, McGucken alleges that Defendants, and each
20 of them, have committed acts of copyright infringement, as alleged above, which
21 were willful, intentional and malicious, which further subjects Defendants, and each
22 of them, to liability for statutory damages under Section 504(c)(2) of the Copyright
23 Act in the sum of up to $150,000.00 per infringement and/or a preclusion from
24 asserting certain equitable and other defenses.
25                              THIRD CLAIM FOR RELIEF
26       (For Violations of the Digital Millennium Copyright Act (17 U.S.C. §1202 –
27                            Against all Defendants, and Each)
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 1          28.   McGucken repeats, re-alleges, and incorporates herein by reference as
 2 though fully set forth, the allegations contained in the preceding paragraphs of this
 3 Complaint.
 4          29.   McGucken regularly published the Subject Photograph with copyright
 5 management information (“CMI”), as that phrase is used in 17 USC § 1202.
 6 McGucken’s CMI included, without limitation, his name, company name, copyright
 7 notice, metadata, and other identifying information. The CMI was prominently
 8 displayed and would be viewed by visitors to McGucken’s website and online
 9 profiles.
10          30.   On information and belief, McGucken alleges that Defendants, and each
11 of them, intentionally removed and altered McGucken’s violated 17 U.S.C. §1202(b)
12 before copying, reproducing, distributing, and displaying the Subject Photograph.
13          31.   On information and belief, McGucken alleges that Defendants, and each
14 of them, did distribute or import for distribution copyright management information
15 knowing that the CMI has been removed or altered without authority of McGucken
16 or the law.
17          32.   On information and belief, McGucken alleges that Defendants, and each

18 of them, did distribute and publicly display works and copies of works knowing that
19 copyright management information has been removed or altered without authority of
20 McGucken or the law, knowing, or, with respect to civil remedies under 17 USC §
21 1203, having reasonable grounds to know, that it will induce, enable, facilitate, or
22 conceal an infringement of any right under this title.
23          33.   On information and belief, McGucken alleges that Defendants, and each

24 of them, in violation of 17 § USC 1202(a), knowingly and with the intent to induce,
25 enable, facilitate, or conceal infringement provided false copyright management
26 information when they added their own logos, names, bylines, and attribution to the
27 Subject Photograph.
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                                           COMPLAINT
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 1          34.     On information and belief, McGucken alleges that Defendants, and each

 2 of them knew, that they were providing false copyright management information to
 3 its copies of the Subject Photograph and distributing copyright management
 4 information that was false at the time it distributed its unauthorized copies of the
 5 Subject Photograph
 6          35.     The above conduct is in violation of the Digital Millennium Copyright

 7 Act and exposes Defendants, and each of them, to additional and enhanced common
 8 law and statutory damages, attorneys’ fees, and penalties pursuant to 17 USC § 1203
 9 and other applicable law.
10          36.     On information and belief, McGucken alleges that Defendants, and each

11 of their, conduct as alleged herein was willful, reckless, and/or with knowledge, and
12 McGucken resultantly seeks enhanced damage and penalties.
13                                    PRAYER FOR RELIEF

14          Wherefore, Plaintiff prays for judgment as follows:

15        Against all Defendants, and Each with Respect to Each Claim for Relief:
16                a. That Defendants, and each of them, as well as their employees, agents,
17                   or anyone acting in concert with them, be enjoined from infringing
18                   McGucken’s copyrights in the Subject Photograph, including without
19                   limitation an order requiring Defendants, and each of them, to remove
20                   any content incorporating, in whole or in part, the Subject Photograph
21                   from any print, web, or other publication owned, operated, or controlled
22                   by any Defendant.
23                b. That McGucken be awarded all profits of Defendants, and each of them,
24                   plus all losses of McGucken, plus any other monetary advantage gained
25                   by the Defendants, and each of them, through their infringement, the
26                   exact sum to be proven at the time of trial, and, to the extent available,
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 1                statutory damages as available under the 17 U.S.C. § 504, 17 U.S.C.

 2                §1203, and other applicable law.

 3             c. That a constructive trust be entered over any revenues or other proceeds

 4                realized by Defendants, and each of them, through their infringement of

 5                McGucken’s intellectual property rights;

 6             d. That McGucken be awarded his attorneys’ fees as available under the

 7                Copyright Act U.S.C. § 505 et seq.;

 8             e. That McGucken be awarded his costs and fees under the above statutes;

 9             f. That McGucken be awarded statutory and enhanced damages under the

10                statutes set forth above;

11             g. That McGucken be awarded pre-judgment interest as allowed by law;

12             h. That McGucken be awarded the costs of this action; and

13             i. That McGucken be awarded such further legal and equitable relief as the

14                Court deems proper.

15          Plaintiff demands a jury trial on all issues so triable pursuant to Fed. R. Civ. P.
               th
16 38 and the 7 Amendment to the United States Constitution.
17                                                    Respectfully submitted,
18
19 Dated: April 28, 2022                              DONIGER / BURROUGHS
20                                             By: /s/ Scott Alan Burroughs
21                                                  Scott Alan Burroughs, Esq.
                                                    Trevor W. Barrett, Esq.
22                                                  Frank R. Trechsel, Esq.
23                                                  Attorneys for Plaintiff
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                                              COMPLAINT
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 1                                    Exhibit A

 2
                                Subject Photograph
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 1                                    Exhibit B
 2
 3                                 Infringing Use

 4
                                Infringing Use URL:

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     https://community.pepperdine.edu/law/academics/content/orange-book-2021.pdf

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